                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
 v.                                              )                    No. 3:22-CR-73-KAC-JEM
                                                 )
 MARK THOMAS RENO,                               )
                                                 )
                       Defendant.                )

 ORDER OF TEMPORARY RELEASE ON CONDITIONS FOR MEDICAL FURLOUGH

        This case is before the Court on the Defendant’s Motion for A Medical Furlough

 [Doc. 17]. See 28 U.S.C. § 636(b). Defendant Reno first appeared on a Criminal Complaint1 on

 July 18, 2022, and has been continuously detained since that time and following a detention

 hearing on July 21, 2022 [Docs. 9, 12]. Defendant asks the Court to release him on a medical

 furlough while he is hospitalized at the Ephraim McDowell Regional Medical Center (“Ephraim

 McDowell RMC”) in Danville, Kentucky.

        Defendant reports that he was hospitalized in Saint Joseph Hospital in London, Kentucky,

 on August 9, 2022, following a medical episode. 2 Defendant was then transported from Saint

 Joseph to Ephraim McDowell RMC, where he was treated and discharged back into custody on

 August 11, 2022. Defendant returned to Saint Joseph on August 13, 2022, and was discharged

 that day, only to return on August 14, when he was transported by helicopter to Ephraim McDowell

 RMC. Defendant is currently in the Intensive Care Unit at Ephraim McDowell RMC and,



 1
        The Grand Jury returned an Indictment on July 26, 2022 [Doc. 13], but Defendant has not
 yet been arraigned on the Indictment.
 2
        Specific information about Defendant’s medical condition is not provided in Defendant’s
 motion. The Court, however, received additional information on the details of Defendant’s
 medical condition from the United States Marshal Service, and that information has also been
 provided to the parties. Given the nature of this information, the Court does not include it here.

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 according to the medical staff at the jail, Defendant has less than a fifty percent chance of survival.

 Defendant seeks a temporary medical furlough.

        The Government does not oppose the requested furlough. The parties agree that upon

 discharge from the hospital, Defendant will return directly into the custody of the United States

 Marshal Service (“USMS”).

        The Court finds Defendant has shown a compelling reason for a temporary medical

 furlough; that is, to receive treatment for a life-threatening condition. 18 U.S.C. § 3142(i). The

 Court finds Defendant’s motion is well taken and unopposed by the Government, and it [Doc. 17]

 is GRANTED. The Court will temporarily release Defendant under the conditions listed herein

 beginning immediately with the filing of this Order. Upon discharge from Ephraim McDowell

 RMC, Defendant SHALL go immediately and directly into the custody of the USMS. Defense

 counsel and the USMS are DIRECTED to keep the Court apprised of Defendant’s location and

 condition. Accordingly, the Court ORDERS as follows:

        (1) Defendant’s Motion for a Medical Furlough [Doc. 17] is GRANTED.
            Defendant is ORDERED temporarily released under the conditions listed
            herein beginning immediately with the filing of this Order.

        (2) Assistant Federal Defender Sarah H. Olesiuk, defense counsel, is
            DIRECTED to provide Defendant a copy of this Order, to review the
            conditions below with Defendant, to obtain Defendant’s signature when he is
            medically able to sign it, and then to return a copy to the Court as soon as
            possible.

        (3) Defendant Mark Reno is ORDERED to abide by the following conditions of
            release during his medical furlough:

                 (a) Defendant shall not commit any offense in violation of federal,
                     state, or local law while on furlough in this case.

                 (b) Defendant shall remain at Ephraim McDowell RMC, and while
                     there, Defendant is on home incarceration at that facility,
                     which means he is restricted to Ephraim McDowell RMC at all
                     times.

                                                   2

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                (c) Defendant shall abide by the following restrictions on his
                    personal association: Defendant shall have no contact, either
                    direct or indirect, with any witness or victim or with any known
                    convicted felons, drug dealers, drug users, or any person who
                    violates the law, except that, if any member of Defendant’s
                    family falls within this category of persons, Defendant may
                    have contact with his family member to discuss family and
                    health-related matters.

                (d) Defendant shall refrain from possessing a firearm, ammunition,
                    destructive device, or other dangerous weapon.

                (e) Defendant shall refrain from any use of alcohol and from any
                    use or unlawful possession of a narcotic drug or other controlled
                    substance, as defined in 21 U.S.C. § 802, unless ordered or
                    prescribed by a licensed medical practitioner.

                (f) To the extent that he has not yet done so, Defendant shall
                    execute an authorization for any healthcare provider to release
                    treatment records and information to defense counsel and the
                    USMS for the Eastern District of Tennessee.

                (g) Defendant SHALL RETURN to the custody of the USMS
                    immediately upon discharge from Ephraim McDowell RMC.

 Defendant Mark Reno understands and agrees to abide by the above conditions of temporary

 release.

        Signed by Defendant:________________________________________

        The Clerk of Court is ORDERED to provide a copy of this Order to the United States

 Marshal Service and to counsel for both parties.

        IT IS SO ORDERED.
                                                        ENTER:

                                                        _______________________________
                                                        Jill E. McCook,
                                                        United States Magistrate Judge




                                                    3

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